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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.
                                             Crim. No. 17-201-1 (ABJ)
 PAUL J. MANAFORT, JR.,

                Defendant.




           DECLARATION IN SUPPORT OF THE GOVERNMENT’S
    MOTION TO REVOKE OR REVISE DEFENDANT PAUL J. MANAFORT, JR.’S
                CURRENT ORDER OF PRETRIAL RELEASE


       I, Brock W. Domin, hereby state as follows:

      A. Affiant

       1.      I am a Special Agent with the Federal Bureau of Investigation (“FBI”) working

directly with the Special Counsel’s Office. I have been a Special Agent with the FBI since 2015. I

have training and experience related to national security investigations, as well as federal financial

crimes. Prior to my employment with the FBI, I spent seven years in the software industry and

have extensive experience working with computer technology.

       2.      I make this declaration in support of the government’s motion to revoke or revise

the release order of defendant Paul J. Manafort, Jr., pursuant to 18 U.S.C. § 3148. This declaration

is based upon my personal knowledge, my review of documents and other evidence, my

conversations with other law enforcement personnel, and my training and experience. Where the

contents of documents or the statements and conversations of others are reported herein, they are

reported in substance and in pertinent part, except where otherwise indicated.
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      B. The “Hapsburg” Group

       3.      As part of its ongoing investigation, the government identified a public-relations

firm—called, along with its successor, “Company D” in what follows—and two principals at that

firm (Persons “D1” and “D2”) who communicated with Manafort, Gates, and Person A regarding

the lobbying scheme described in the Superseding Indictment. Persons D1 and D2’s work with

Manafort, Gates, and Person A encompassed lobbying work on behalf of the Ukrainian

government, which included the lobbying work by the Hapsburg group members. Persons D1 and

D2 also communicated with individual(s) at Law Firm A, Company A, and Company B, and

Ukrainian government personnel, among others, regarding Manafort’s scheme to lobby on behalf

of Ukraine in the United States.

       4.      As referenced in the Superseding Indictment, in late 2011, Manafort, with Person

D1, developed what became the “Hapsburg group.” Manafort proposed the project to the

Ukrainian government in the “Eyes Only” memorandum excerpted in the Superseding Indictment.

See, e.g., Superseding Indictment of February 23, 2018 (Doc. 202), ¶ 31.

       5.      Person D1 told the government that Manafort wanted the Hapsburg group to remain

“under the radar,” and that the Hapsburg group would speak as ostensible third-party endorsers on

behalf of Ukraine, but the fact that they were paid millions of euros would be kept secret. Manafort

and Person D1 selected individuals who could be discreet.

       6.      In or about June 2011, Manafort arranged a conference call with Person D1 to

discuss the goals and deliverables of Company D’s work. Manafort then sent Person D1 a

memorandum describing a “framework” for Company D’s work: the “goal of the program . . . is

to educate the western media, expand the media awareness of what is really happening and

establish mechanisms to maintain a constant flow of information into Europe and the US,”



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including “Washington.” Manafort’s agenda for the conference call proposed a contract that

would “cover the EU and the US.”        And, indeed, a contract sent by Person A to Person D1

regarding Company D’s work described a “campaign . . . aimed at media, decision-makers, think[]

tanks and business and political leaders in Europe and the United States.” The contract included,

as “agreed deliverables,” work on “Print/electronic media coverage in Europe and US.” A copy

of Manafort’s e-mail regarding the June 2011 conference call is attached hereto as Exhibit A, and

a copy of the contract is attached hereto as Exhibit B.

       7.      In or about June 2012, Person D1 wrote a memorandum to Manafort describing a

group of “Third-Party Champions on Ukraine,” which Person D1 described as a “small chorus of

high-level European third-party endorsers and politically credible friends who can act informally

and without a formal government relationship . . . .” In this memorandum, Person D1 described a

phone call with a former senior politician who would eventually become the head of the Hapsburg

group, during which the former politician embraced the “idea of what he called ‘underground

commenting.’” Person D1’s memorandum to Manafort is attached hereto as Exhibit C.

       8.      As alleged, the government has developed substantial evidence showing that the

Hapsburg group performed a variety of lobbying tasks in the United States. That work included,

among other things, the dissemination of ghostwritten articles in the American press and the

arrangement of meetings with politicians in the legislative branch and members of the Executive

Branch (in coordination with Companies A and B).

       9.      As one example of the Hapsburg group’s lobbying directed towards the United

States, in September 2012, members of the Senate Foreign Relations Committee were considering

a resolution condemning as “politically motivated” the prosecution of Yulia Tymoshenko.

Manafort and Gates, with the assistance of Persons D1 and D2, arranged for members of the



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Hapsburg group to lobby United States senators on behalf of Ukraine. Manafort emphasized that

one of the senators should be made aware that one member of the Hapsburg group was a

“representative of the President of the [European Parliament],” but did not disclose that that

member was a paid lobbyist for Ukraine. A copy of the correspondence memorializing the

Ministry of Foreign Affairs’s instructions, Manafort’s guidance, and outreach to senators is

attached hereto as Exhibit D.

       10.     As another example, in early 2013, Manafort, Gates, and Persons D1 and D2

arranged for members of the Hapsburg group to meet with politicians and others in Washington,

D.C. In connection with one member’s visit to Washington, D.C., Gates and others arranged for

the member of the Hapsburg group to submit an op-ed to The Hill. See Ex. E. Persons D1 and D2

drafted the op-ed, and redrafted it after receiving Manafort’s direction that it not appear “too

partisan” for the Hapsburg group member. Once satisfied with the piece, Manafort noted that it

was “[a]lmost a waste not to use this on the FT, NYT, WSJ, WP, caliber newspapers.” See Ex. F.

The article was placed in The Hill, a newspaper and website published in Washington, D.C., on

March 4, 2013.

       11.     In connection with another member of the Hapsburg group’s trip to Washington in

early 2013, Gates and Manafort communicated with Persons D1 and D2 regarding the trip. Gates

sent Manafort an agenda memorializing the member’s scheduled meetings with senators,

congressmen, and members of their staffs. That agenda is attached hereto as Exhibit G. As

explained by an employee of Company B to an embassy employee making border entry

arrangements, the Hapsburg group member would “be traveling to Washington, DC next week”

and would “be meeting with US Government officials and Members of Congress.” See Ex. H.

Person D2 told the government that he attended the meetings in Washington, D.C. with the member



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of the Hapsburg group and members of Congress, among others. Person D2 further stated that

after the meetings with United States government officials, the member of the Hapsburg group,

Person D2, and Manafort met at the Willard Hotel for drinks. After the member of the Hapsburg

group left, Person D2 and Manafort remained at the hotel and discussed how the meetings had

gone. Manafort reported that he had received positive feedback regarding the meetings from a

“backchannel” source, and, in Person D2’s view, Manafort was happy with the results.

         12.    As a final example, when an editorial regarding Ukraine appeared in The New York

Times in January 2014, Gates forwarded the article to Persons D1 and D2 with instructions that a

member of the Hapsburg group should write a “response.” See Ex. I. Persons D1 and D2 drafted

an op-ed on behalf of one of the members of the Hapsburg group, see Ex. J, Gates offered

comments, see Ex. K, and the op-ed ran in The New York Times in or around February 2014, see

Ex. L.

         C. Efforts to Contact Persons D1 and D2

         13.    Documents produced by Persons D1 and D2, statements made by Persons D1 and

D2 to the government, telephone records obtained by the government, and documents recovered

pursuant to a court-authorized search of Manafort’s iCloud account evidence that Manafort, while

on bail from this Court, and with the assistance of Person A, contacted and attempted to contact

Persons D1 and D2 in an effort to influence their testimony and to otherwise conceal evidence.

The investigation into this matter is ongoing. 1

         14.    On February 24, 2018—the day after Gates pleaded guilty—Manafort sent Person

D1 the message “This is paul.” Manafort’s toll records for his cell phone indicate that he called a

number associated with Person D1 the same day, and that the two had a call lasting 1 minute and



1
    Persons D1 and D2 provided the content of the text messages described below in May 2018.
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24 seconds. On February 25 and 27, 2018, Manafort attempted to call another phone number

associated with Person D1, but did not connect. Person D1 told the government that in or around

this period, Manafort called Person D1, and that the two had not spoken since July of the previous

year. Person D1 stated that after answering the call and after the caller identified himself as

Manafort, Manafort stated that he wanted to give Person D1 a heads-up about Hapsburg. Person

D1 immediately ended the call because he was concerned about the outreach.

       15.      On February 26, 2018, Manafort sent Person D1 a series of messages using an

encrypted application on his phone. The messages read as follows:

       -     23:56:http://www.businessinsider.com/former-european-leaders-manafort-hapsburg-
             group-2018-2?r=UK&IR=T
       -     23:57: We should talk. I have made clear that they worked in Europe.

The government confirmed that these messages were sent by Manafort, upon review of Manafort’s

iCloud account pursuant to a court-authorized search. Information contained in Manafort’s iCloud

account further indicates that Manafort attempted to call Person D1 from the same encrypted

application on February 27, 2018.

       16.      The web address included in Manafort’s “23:56” message contains an article

describing the Superseding Indictment and its inclusion of allegations concerning the Hapsburg

group and its work in the United States. See Michael Kranz, Former European leaders struggle

to explain themselves after Mueller claims Paul Manafort paid them to lobby for Ukraine, Business

Insider (Feb. 25, 2018), available at http://www.businessinsider.com/former-european-leaders-

manafort-hapsburg-group-2018-2?r=UK&IR=T (attached hereto as Exhibit M) (“According to

Mueller’s indictment, two European politicians were secretly paid around €2 million by Manafort

in order to ‘take positions favorable to Ukraine, including by lobbying in the United States.’”).

       17.      On February 28, 2018, Person A separately contacted Person D2 via an encrypted

messaging application. Person D2 worked for years with Person D1, and was known to Manafort
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and Person A as a key associate of Person D1. Person D2 told the government that he worked on

press strategy for the Hapsburg group, and did work on behalf of Ukraine in the United States and

Europe. Person A’s texts to Person D2 read as follows:

       -     01:49: [Person D2], hi! How are you? Hope you are doing fine. ;))
       -     01:51: My friend P is trying to reach [Person D1] to brief him on what's going on.
       -     01:51: If you have a chance to mention this to [Person D1] - would be great.
       -     01:53: Basically P wants to give him a quick summary that he says to everybody (which
             is true) that our friends never lobbied in the US, and the purpose of the program was
             EU

Approximately four hours later, Person A switched to another encrypted application and sent a

similar series of messages to Person D2.

       18.      Approximately one month later, Person A reached out to Person D1 directly as well.

On April 4, 2018, Person A sent a message to Person D1: “Hi. This is [Person A’s first initial]. My

friend P is looking for ways to connect to you to pass you several messages. Can we arrange that.”

Person A reached out to Person D2 the same day, and reiterated his need for help in connecting

Person D1 with Manafort. Person A added in his text to Person D2: “I tried him [i.e., Person D1]

on all numbers.” A timeline summarizing the above-described communications is attached hereto

as Exhibit N.

       19.      Person D1 told the government that Person D1 understood Manafort’s messages to

be an effort to “suborn perjury” by influencing Person D1’s potential statements. Person D1 well

knew and believed from frequent interactions with its members that the Hapsburg group in fact

lobbied in the United States, and that Manafort and Person A knew that fact.

       20.      Person D2 told the government that Person D1 had also told him that Manafort had

called Person D1 to discuss the new indictment, but that Person D1 abruptly ended the call. Person

D2 further stated that he received the messages from Person A “out of the blue,” but did not open

them at the time for fear of alerting Person A that he had read them. (Person D2 could, however,

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read the first few lines of each message in the preview screen of the electronic application.) Person

D2 stated that, in his opinion, Manafort and Person A were reaching out to him and Person D 1

because Company D "owned" the Hapsburg group and served as intermediaries between Manafort,

Gates, and Person A, on the one hand, and the Hapsburg group on the other. Person D2 further

stated that he understood Manafort and Person A's outreach to him and Person D 1 to be an effort

to get at least Person DI to relay a message to the members of the Hapsburg group: if the members

of the Hapsburg group were contacted by anyone, they should say their lobbying and public-

relations work was exclusively in Europe. Person D2 stated to the government that the Hapsburg

group worked in Europe and in the United States, and that he understood that one of the goals of

the Hapsburg group was to lobby in the United States.



                                              Respectfully submitted,




                                           ~ Domi:402 -
                                              Special Agent
                                              Federal Bureau of Investigation




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